Case 2:10-md-02179-CJB-DPC

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Monday, March 19, 2012

Publie Comment On iV

LORX Proposed Consent Decree

in Re:
2016; MDL, 2179;
- fg. Ref 99-5-i—-!-10026.
- {Proposed Consent Decree wit

Via e-mail pubcomment-ces.cne

- O11 Spill by the Oif Rig “Deepwater Horizon”

MOEN

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in the Gulf of Mexico, on April 20,

; Court Pleadings #3743 and 5743-1)

submil this Comment in response to lhe “Notice of Lodging of Proposed Consent

Decree under the Clean Water”. regarding

the above malter, published by the Department of

Justice in the February 24. 2012 Federal Register (Vol. 77. No. 37; FR Doc. 2012-4568). |
submit this as a citizen of Louisiana and of the United States; and an attorney of record with

wae “Ch ibit 1” To Plaintiffs’ Complaint For intervention

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thousands of clients in the Deepwater Harrzon matter. Further. 1 fled the first class action suits

in the Deeynweter Horizon multi-district litigation on behalf of private plaintiffs as private

attorneys general that made claims under the “Citizens Suil” provisions of the Clean Water Act
(33 ULS.C. See 1365) for violations and enforcement of the Clean Water Act by and against BP,
ple: BP Exploration and Production, Ine.: BP America, inc.; Anadarko Petroleum Corporation:

Mitsui Oil Exploration Co.. Lid: et al!

As you know. the proposal would settle the civil penalties of defendant MOEX Offshore
2007 LLC (MOEN) under the Clean Water Act for $45 million’. This amount is very

inadequate,

1 request that the Department of Justice withdraw and withhold its consent to the
proposed judgment because il is inappropriate, improper and/or inadequate for the following

Penson.

1. The Proposed Penalty [s Inadequate at Even the $1,100/Barrel Penalty Rate.

2. The Evidence Currently Known Indicates That The Incident Was An Act Of “Gross
Nevligence”, Thereby Triggering the $4,300/Barrel Penalty Rate

3. The Proposed Settlement is Even More Inadequate at the $4,300/Barrel Penalty Rate.

4, The Proposed Settlement Does Not Adequately Consider the “Penalty Factors” Of The
Clean Water Act.

5. MOEN’s Lack Of Active Participation in The Drilling Operation Should Not Mitigate
tis Liability.

6. MOICN’s Settlement With BP in This Matter Was At A Much Higher Rate Than The
U.S.’s Proposed Settlement.

‘Tom Garner v¥ BP, plc; BP Exploration and Production, Inc.; BP America, inc.; Anadarko Petroleum Corporation;
Mitsui Oil Exploration Co. Ltd.; Transocean Ltd, Transocean Offshore Deepwater Drilling, Inc.; Transocean
Deepwater, Inc.; Halliburton Energy Services, inc.; and Cameron international Corporation f/i/a Cooper Cameron
Corporation (&.D.La, Civil Action No. 10-01482 }{for Louisiana residents); and

Grady Thigpen et al. v BP, ple; BP Exploration and Production, inc.; BP America, inc.; Anadarko Petroleum
Corporation; Mitsui Oil Exploration Co. Ltd.; Transocean Lid., Transocean Offshore Deepwater Drilling, Inc;
Transocean Deepwater, inc.; Halliburton Energy Services, tnc.; and Cameron International Corporation f/k/a
Cooper Cameron Corporation {5.D. Ms., Civil Action # 10-cv-280; and, after transfer to £.D.La., #1G-cv-3273}{for
Mississippi residenis)
? The total amount of the Proposed Settlement is $90 million, as follows: $45 million to the United States, $25
million to the Gulf States affected by the spill, ancl $20 million for coastal environmental projects.

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7. Conclusion,

i. The Proposed Penalty is Inadequate at Even the $1,100/Barrel Penalty Rate.

The Clean Water Act provides for fines in a situation such as this from $1,100 per barrel
. $4,300 per barrel.

spilled to. in the case of “gross negligence’
ays “ : : ‘yee 3
rhe US. has estimated the amount spilled to have been 4.1 million barrels”.
MOLEX owned a [0% in interest in the well,

Ifthe fine were assessed at $1.100/barrel, the total fine would be $4.51 billion. Moex’s
10% share would therefore be $451 millon. The $45 million proposed setllement, however,

would be only 1% ofa $4.51 billion penally agains: BP.

2. ‘The Evidence Currently Known indicates That The Incident Was An Act Of “Gross
Negligence”, Thereby Triggering the $4,300/Barrel Penalty Rate.

The Chief Counsel's Report of the Presidential Commission made several findings thal
could reasonably lead one to determine that the spill was the result of gross negligence:

The Chief Counsel‘s team concluded that all of the technical failures at Macondo
can be traced back to management errors by the companies involved in the
incident, BP did not fully appreciate all of the risks that Macondo presented. H did
not adequately supervise the work of Hs contractors, who in Lurn did not deliver to
BP all of the benefils of their expertise. BP personnel on the rig were not
properly trained and supported, and all three companies failed to communicate
key information to people who could have made a difference.

Among other (things:

BP did not adequately tdentily or address risks created by last-minute changes
to well design and procedures. BP changed its plans repeatedly and up to the very
last minule. somelimes causing confusion and frustration among BP employees
and rig personnel,

"On? August 2010, the United States Department of Energy and the Flow Rate Technical Group issued an estimate
that 4.9 million barretfs of oil had flawed from the Macondo well, and 4.05 milion barreis had been discharged Into
the Gulf (the difference being the amount of oil captured by vessels on the surface as part of the well containment
efforts). Its “Assessment of Flow Rate Estimates for the Deepwater Horizon/Macondo Well Oi Spill Is available at:
lilo//www.daipov/deeqwaterhorizon/loader clmicsModulessecurity/gatfile&PapelD=237763 .

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When BP did sene instructions and procedures to rie personnel. it often
provided inadequate detail and euidance.

Ii is common in the offshore oil industry to focus on increasing efficiency to
save rig time and associated costs. But management processes must ensure
that measures laken to save time and reduce costs do not adversely affect
overall risk. BP‘s management processes did not do so." (Emphasis added),

Further, the Chief Counsel's Final Report was but one of numerous reports, studies, and
hearings that came to similar findings, including those by:

- the U.S. Coast Guard:

- the U.S, Mineral Management Service (now the Bureau of Ocean Energy,
Management. Regulation and fnforeement):

- the Deepwater Horizon Study Group:

- the Final Report of the National Commission on BP Deepwater Horizon and Offshore
Drilling; and

~ numerous Congressional Committees.

Accordingly. in light of these factors, combined with MOEX’s knowledge of BP's
history of violations, il is very likely that a trial would resul€ in a determination of “gross
negligence” against MOLEX as well as BP. thereby resulting in the increased fine of up to
$l. 300/barrel.

3, The Proposed Settlement is Even More inadequate at the $4,300/Barrel Penalty Rate For

Acts of “Gross Nesligence”.

Hf the fine were assessed at $4, 300/barrel, and the total fine would be $17.63 billion.
Moex’s 10% share would therefore be $1.763 billion. The $45 million proposed settlement,
however, would be only 0.26% of a $17.63 billion penalty against BP.

4+. The Proposed Settlement Does Not Adequately Consider the “Penalty Factors” Of The
Clean Water Act.

The Clean Water Act specifies several explicit factors that are to be considered when

” Executive Summary of Findings; Chief Caunsels Report; National Commission on the BP Deepwater Horizan Ol
Spill and Offshore Drilling, p. xi. Available at: http://www.oilspillcommission gov/final-report

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assessing a penalty’. Although this is a proposed settlement and not an assessment, there is

msulficient discussion of CWA’s penalty factors. Without such, it is not possible to determine if
the Proposed Settlement amount may be adequate. Therefore, the Proposed Settlement should be
withdrawn and revised also to include a discussion of how the amount relates to the penalty

fetors,

3. MOEX?s Lack of Active Participation in the Drilling Operation Should Not Mitigate Its
Liability.

In the years immediately preceding the Deepwater Horizon incident, BP had accunwlated
by fur the worst safely record of any major oil company. As noted in a study discussed on
National Public Radio in the immediate aftermath of the explosion:

BP's safety record has come under intense scrutiny ever since the blowout and
resulling explosion al its Deepwater Horizon offshore oil rig led to the

deaths of [| workers, injuries to others, and the still uncontrolled spewing of tens
of thousands of barrels of crude oi] into the Gulf of Mexico.

On Monday, the Center lor Public Inteprity reported that its analysis of
Occupational Safety and Health Administration records for the energy giant
revealed that it has racked up far more serious safety violations ai i1s refineries
than its competitors.

Ina report with the unambiguous litle "Renegade Refiner: OSHA Says BP Has
Systemic Safety Problem” the CPI. a Washington, D.C.-based watchdog
group wriles that 97 percent of the worst violations were found at BP refineries.

An excerpt from its report:

BP is battling a massive oi] well spill in the Gulf of Mexico after an April
20 platform blast that killed 11} workers. But the firm has been under
inlense OSHA scrutiny since its refinery in Texas City, Texas, exploded in
March 2005, killing 15 workers. While continuing its probe in Texas City,
OSHA launched a nationwide refinery inspection program in June 2007 in

5 hey determining the amount of a civil penalty under paragraphs (6) and (7), the Administrator, Secretary, or the
court, as the case may be, shall consider the seriousness of the violation or violations, the economic benefit to the
violator, if any, resulting from the violation, the degree of culpability involved, any other penalty for the same
incident, any history of prior violations, the nature, extent, and degree of success of any efforts of the violator to
minimize or mitigate the effects of the discharge, the economic impact of the penalty on the violator, and any
other matters as justice may require,”

33 U.S.C. § 1321{b}(8); (“Clean Water Act; Determination of Amount”)

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response to a series of fires, explosions and chemical releases
throughout the industry.

Refinery inspection data obtained by the Center under the Freedom of
Information Act for OSHA's nationwide program and for the parallel
Texas City inspection show that BP received a total of 862 citations
between June 2007 and February 2010 for alleged violations at ils
refineries in Texas City and Toledo, Ohio.

OF those, 760 were classified as "epregious willful" and 69 were classified
as “willful.” Thirty of the BP cilations were deemed "serious" and three
were unclassified. Virtually all of the citations were for alleged violations
of OSHA's process safety management standard, a sweeping rule
governing everything from storage of flammable liquids io emergency
shutdown systems. BP accounted for 829 of the 851 willful violations
among all refiners cited by OSHA during the period analyzed by the
Center.

Top OSHA officials told the Center in an interview that BP was cited for
more egregious willful violations than other refiners because it failed to
correct {he types of problems thal led to the 2005 Texas City accident even
alter OSHA pointed them out. In Toledo, problems were corrected in one
part of the refinery bul went unaddressed in another. Jordan Barab, deputy
ussistant secretary of labor for occupational safety and health, said il was
clear that BP "didn't po nearly lar enough" to correct deficiencies after the
2005 blast.

"The only thing you can conclude is that BP has a serious, systemic safely
problem in their company,” Barab said."

Aside from the Texas City explosion, for which BP pleaded guilly to felony violations of
the Clean Air Act and a $50 million fine lollowing the Texas Ciy incident, other major recent
major safely violations by BP include a series of accidents in 2000 at BP’s Grangenouth,
Scotland petrochemical facility and a 2006 rupture of a corroded pipeline at Prudhoe Bay,

Ho
Alaska".

““BP Refinery Safety Record Industry's Worst: Watchdog”, National Public Radio, by Frank James, May 17, 2010.
Available at: Glto://www.nprore/blogs/thetwo-way/2016/05/bp refinery safeiy record indu.btml

7 ¥Ep's blemished safety record is off-limits in trial, judge rules", Times Picayune, by Mark Schleifstein, February 9,

2012.
Available at: bttp://www.aola.com/news/gulf-aoif-spill/index.ssf/2012/02/judge_rules_bps blemished_safe. html
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MOLEX was obviously willing fo risk investing ina venture with BP while fully aware of
BPs notorious and outstanding record of salety violations. It was a business decision MOLEX
considered and was willing lo take. Accordingly, the fact that MOEX was not an active partner
in the actual drilling of ine well should not act as a factor to mitigate its culpability.

6 MOEX's Setilement with BP in This Matter Was ata Much Higher Rate than the U.S.’s
Proposed Settlement,

MOLEX setded BP's claims against Hin this htipation for 41.065 billion (and MOEX’s
transfer of its leasehold interest, the worth of which is now highly questionable as a result of the
explosion and the sealing of the well.'°

BP has stated that its best estimate lor its total cost for the spill is $37.2 billion, |!

MOEX therefore has assumed responstbility with BP for 2.9% of BP’s anticipated
liabrlity.

As noted above. however, the U.S. Proposed Settlement assesses MOEX for only (a) 1%
of BP's fine Gf fined at $1.100/barrel), or (b} 0.26% (at $4,300/barrel). Even using the lower
$1.100/barrel formula, in other words, the U.S. Proposed Settlement assesses MOFX at only
one-third the rate (1%) that MOEX setlled with BP Hself (2.9%)

th

* “Major incident investigation report BP Grangemouth Scotland: 29° May - to" June 2000".

Available at: http://www.hse.gov.uk/comah/bpgrange/index.btm

° "Sigpest Oif Field in U.S. Is Forced to Stop Pumping”, New Yori Times: August B, 2010.
Available at: fttp://www.nytimes.com/2006/08/08/business/O8cH_.html?pagewanted=print

“Order and Reasons” (Regarding Motion in Limine to Exclude Settlement Evidence)”, p. 2; February 7, 2012. Doc
#5603. As this Court noted: “The BP-MOEX settlement obligates MOEX to pay BP the sum of $1,065,000,000,
transfer its 10% leasehold interest in MC252 to BP, and release BP from all claims related to the Deepwater
Horizon incident. in turn, BP released MOEX from all of its potential claims against MOEX related to the incident
and agreed to indemnify MOEX for any liability for numerous civil claims in this MDL, MOEX also agreed to release
all of its claims against Anadarko and transfer to BP all of its third-party claims other than its claims against
Anadarko of any claims under MOEX's offshore insurance policies. Additionally, the BP-MOEX settlement provides
that BP will reimburse MOEX 5% of any recoveries in excess of $25 billion from third parties such as Transocean
and Halliburton, up to the amount of S500 million.”

” ’RP Reaches Estimated $7.8 Billion Deal With Spill Victims”, Bloomberg News, March 14, 2012...
Available at: http: //www-businessweek,com/news/2012-03-14/bp-reaches-estimated-7-dot-8-biflion-ceal-with-
spill-victims
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7. Conelusion:

As Professor David UhImann of the University of Michigan Law School and the former
chiefof the Justice Department's environmental crime section judiciously stated, this was only a
ww JF
“modest settlement”. '°
Accordingly, | request that the Deparment of Justice withhold and withdraw its Consent to

the proposed Settkement and Judgment.

Sincerely,

Dantel E. Beenel. Jr.

" See “U.S Files Motion Seeking Moex Accord in BP Spifl Case"; Bloomberg News; February 17,2022; = Available

Mexico-spih-case. him

